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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                          :
ANA LUZ SANCHEZ,                          : CIVIL ACTION
                           Plaintiff,     :
       v.                                 : NO. 18-5018
                                          :
KILOLO KIJAKAZI,                          :
Acting Commissioner of Social Security, 1 :
                           Defendant.     :
____________________________________:

                                                   ORDER

        AND NOW, this 10th day of November, 2021, upon consideration of the Plaintiff’s

Motion for Attorney Fees (EAJA) (ECF No. 22), the Response, Reply Brief, Sur-Reply Brief,

Notices of Supplemental Authority and Plaintiff’s Motion Seeking Oral Argument (ECF No. 32),

and in accordance with the foregoing Memorandum Opinion,

        IT IS ORDERED that the Motion for Attorney Fees (EAJA) (ECF No. 22) and Motion

Seeking Oral Argument (ECF No. 32) are DENIED.



                                                            BY THE COURT:


                                                            _/s/ Henry S. Perkin____________
                                                            HENRY S. PERKIN
                                                            United States Magistrate Judge




1
  Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to Rule 25(d) of
the Federal Rules of Civil Procedure, Ms. Kijakazi should be substituted for the former Commissioner of Social
Security, Andrew Saul, as the defendant in this action.
